Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 1 of 12 PagelD #:13648

20,000/8847

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ROBERT P. HILLMANN, )
)
Plaintiff, )
)
Vv. ) No. 04 C 6671
)
) Judge Ruben Castillo
CITY OF CHICAGO, a Municipal )
Corporation, et al., )
Defendant.

PLAINTIFF ROBERT HILLMANN’S REPLY
IN SUPPORT OF HIS BILL OF COSTS

The Plaintiff, ROBERT HILLMAN, by and through one of his attorneys, and

for his Reply in Support of his Bill of Costs, states as follows:
INTRODUCTION

This Court granted Plaintiffs Motion to Reconsider the Judgment with
respect to Set-Off on September 4, 2014, and Plaintiff accepted this Court's
Modified Remittitur on September 9, 2014, reducing the jury verdict by $400,
000.00. Pursuant to Federal Rule of Civil Procedure 54(d) and 28 U.S.C. § 1920,
Plaintiff filed his Bill of Costs with Supporting Memorandum and Supporting
Documentation on September 18, 2014. Defendant City of Chicago filed a response
on October 22, 2014 contending that Plaintiff is not entitled to its deposition

transcript costs because the page numbers were not listed in the supporting

1
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 2 of 12 PagelD #:13648

documentation and that Plaintiff is not entitled to both video and transcript costs
for certain depositions. Plaintiff notes that Defendant has not challenged any of
Plaintiffs Bill of Costs other than deposition transcripts. In reply, Plaintiff provides
the page numbers for each deposition challenged by Defendant. Additionally,
Plaintiff asserts that both videotape and transcript copies of the depositions of Dr.
Gonzales and Catharine Hennessy were reasonably necessary, so these costs are

recoverable.

ARGUMENT

A. Plaintiff is Entitled to Cure Defendant’s Objection to the Itemization of
Per Page Deposition Costs

Deposition costs are recoverable as a “stenographic transcript” under 28
U.S.C. § 1920(2); Cengr v. Fusibond Piping Systems, Inc., 135 F.3d 445, 454 (7th
Cir. 1998). Costs for any deposition “reasonably necessary” at the time of the
deposition are recoverable by the prevailing party. Trading Technologies Intern.,
Ine. v. eSpeed, Inc., 750 F. Supp. 2d 962, 975 (N.D. Ill. 2010). The Court uses the
total number of pages and the price per page to determine if deposition costs are
reasonable. Hakim v. Accenture U.S. Pension Plan, 901 F. Supp. 2d 1045, 1056
(N.D. Ill. 2012).

Frequently, in the pursuit of costs under Federal Rule of Civil Procedure
54(d), the party opposing costs raises an objection that the prevailing party has the
information to successfully counter. In these circumstances, courts allow the
prevailing party an opportunity to supplement, or “cure,” its Bill of Costs in order to

address the opposing party’s objections. For example, a Plaintiff was allowed to

2
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 3 of 12 PagelD #:13648

supplement its Bill of Costs material in response to the Defendant's cbjections to a
lack of detail with respect to deposition costs. Shanklin Corp. v. American
Packaging Machinery, Inc., No. 95-1617, 2006 WL 2054382, at *3 (N.D. Ill. July 18,
2006). See also Life Plans, Inc. v. Security Life of Denver Insurance Company, No.
11-8449, 2014 WL 2879881, at *4 (N.D. Ill. June 25, 2014) (allowing prevailing
party to supplement its Bill of Costs in response to opposing party’s objections).
Here, Plaintiff has material to supplement his initial filing in order to
counter Defendant’s objections. (Amended Bill of Costs Itemization, Costs for
Transcripts portion, attached as Exhibit A). This supplement clearly indicates the
page count and cost per page of the depositions challenged in Defendant’s
Response.! It should be noted that the court reporters used by both parties charged
more than the statutory maximum, but Plaintiff has requested only the statutory
maximum in his Amended Bill of Costs. This results in a reduction of costs
requested on these depositions by $4,325.65. Plaintiff also accepts Defendant’s
reduction of $2,192.94 for the costs of other depositions in which the court reporter
charged in excess of the statutory maximum. As a result, Plaintiffs request in the
category of Costs for Transcripts is reduced from $31,162.69 to $24,644.10, for a
total reduction of $6,518.59. As this is the only category challenged by Defendant,
the total costs requested by Plaintiff are reduced by a corresponding $6,518.59, for a

total requested of $75,446.26.

 

* As part of its Amended Bill of Costs Itemization, Plaintiff also corrects an entry in the Costs for Copying section
inadvertently marked as 1/07/16 to the correct date of 1/07/06. Defendant has not challenged this cost on the basis of
the aforementioned scrivener’s error.
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 4 of 12 PagelD #:13648

This information provides a sufficient basis for this Court to award transcript
costs for the challenged depositions. See Hakim, 901 F. Supp. 2d at 1056. Plaintiff
notes that the only basis for Defendant's challenge is the lack of sufficient detail.
Just as the courts in Shanklin and Life Plans, Inc., considered the prevailing party’s
supplement in response to the opposing party’s objections, Plaintiff requests that
this Court accept his Amended Bill of Costs Itemization and award deposition
transcript costs for the transcripts challenged by Defendant as lacking sufficient

detail.

B. Plaintiff is Entitled to Costs for Both Videotape and Transcript Copies of
the Depositions of Dr. Michael Gonzales and Catharine Hennessy, as they
were Reasonably Necessary

The Seventh Circuit permits the costs of both videotaped and transcribed

depositions to be awarded to the prevailing party. Little v. Mitsubishi Motors North
America, Inc., 514 F.3d 699, 702 (7th Cir. 2007). Both costs may be recovered if they
are reasonably necessary “in light of the facts known at the time of the deposition,
without regard to intervening developments that render the deposition unneeded
for further use.” Mother and Father v. Cassidy, 338 F.3d 704, 712 (7th Cir. 2003).
1. Costs for both a videotape and a written transcript of the deposition of
Dr. Michael Gonzales were reasonably necessary because Dr. Gonzales
was located in North Dakota and Plaintiff was unsure if he would be
available for trial.
The possibility that a witness may be unavailable at trial is a reasonable

basis for requesting both videotape and transcript costs of a deposition. The

prevailing party may be permitted to recover costs for videotaped depositions and
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 5 of 12 PagelD #:13648

stenographic transcripts when the witnesses were non-parties, and it was
reasonably possible that they might not be available at trial. Vito & Nick’s, Ine. v.
Barraco, No. 05-2764, 2008 WL 4594347, at *3 (N.D. Ill. Oct. 10, 2008); Fairley v.
Andrews, No. 03-5207, 2008 WL 961592, at *11 (N.D. Ill. April 8, 2008).

Here, the parties deposed Plaintiffs treating physician, Dr. Michael
Gonzales, in his state of residence, North Dakota. At the time of his deposition, it
was obvious to all parties both that Dr. Gonzales was a nonparty and that he was
located a rather long distance from Chicago, Illinois. Accordingly, there was a
reasonable possibility that Dr. Gonzales would be unavailable for trial.
Additionally, doctors are frequently unavailable, even when located closer to the
trial venue, due to the nature of the practice of medicine.

The fact that Dr. Gonzales was ultimately available to testify at trial is
irrelevant to whether Plaintiff is entitled to recover these costs. The reasonable
necessity of costs incurred with a deposition is determined at the time of the
deposition, not with the benefit of hindsight once it is clear that the witness is
available to testified at trial. See Mother and Father, 338 F.3d at 712. At the time
of Dr. Gonzales’ deposition, it was not certain that he would be available to testify.
Because he was a nonparty witness located outside the subpoena power of the
Northern District of Illinois, it was reasonably necessary at the time of the
deposition to capture it on a video recording as well as by stenographic

transcription. Accordingly, Plaintiff is entitled to recover the cost of both methods.
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 6 of 12 PagelD #:13648

2. Costs for both a videotape and a written transcript of the deposition of
Catharine Hennessy were reasonably necessary because Plaintiff
anticipated using the videotape to emphasize a serious lack of
credibility

Although costs for both video recordings and stenographic transcripts are
most frequently awarded in the context of a potentially unavailable witness, the
concept of “reasonably necessary” is not limited to this situation. See Chicago Board
Options Exchange, Inc. v. International Securities Exchange, LLC, No. 07-623, 2014
WL 1259387, at *4 (N.D. Ill. Jan. 14, 2014) (acknowledging that the prevailing party
may have been entitled to recover costs of both video recordings and stenographic
transcripts if it had sufficiently justified why both costs were necessary).
Impeachment of a particular witness may be sufficient grounds to deem a
deposition reasonably necessary. Perry v. City of Chicago, No. 08-4730, 2011 WL
612342, at *5 (N.D. Il. Feb. 15, 2011). It may be insufficient to request video
recording and stenographic transcripts for the deposition of every plaintiff for the
purposes of demonstrating “plaintiffs’ credibility and demeanor during their
deposition testimony” when the circumstances do not make this necessary. Loomis
v. Exelon Corp., No. 06-4900, 2010 WL 1005087, at *2 (N.D. Il]. March 11, 2010).

That said, when there are serious credibility issues with a witness holding an
important status, it can be reasonably necessary to request costs for a video
recording and a stenographic transcript. In Top Tobacco, L. v. North Atlantic
Operating Company, Inc., 2007 WL. 1149220, at *7 (N.D. Ill. April 17, 2007), the
court determined that it was reasonable and necessary to assess costs for both the

video recording and the stenographic transcript of the deposition of Donald Levin,
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 7 of 12 PagelD #:13648

the chairman of Top Tobacco. The court offered the following comments regarding
Levin's testimony: “[Levin’s deposition testimony] further illustrates Top Tobacco’s
apparent willingness to say whatever it believes suits it at the time,” “The Court
reviewed the testimony on video and could hardly believe that Levin gave the
following testimony with a completely straight face,” and “Levin’s testimony is
absurd.” Jd. at *5. While it acknowledged that impeachment is not “always” a
justification for allowing both video recording and stenographic transcript costs, the
Court granted both costs for Levin’s deposition, stating:

The videotape of Levin’s deposition was not merely useful for

impeachment; with the videotape in its arsenal, North Atlantic likely

would have eviscerated Levin at trial. Because Levin is Top Tobacco’s
chairman, it is hard to overestimate the potential impact of the
videotape on a jury.

fd. at *7.

Plaintiffs justification for the videotaped deposition of Catharine Hennessy is
akin to the justification awarding both costs for the deposition transcript and
videotaped record of Donald Levin in Top Tobacco. This Court noted that Hennessy
was antagonistic on the witness stand and repeatedly impeached at trial. See Doc.
# 539 at pp. 53, 66. Moreover, in Hennessy’s first deposition, it became abundantly
clear that there were serious issues with her credibility. Like Donald Levin in Top
Tobacco, Hennessy held an important position with the City of Chicago: a licensed
attorney in the State of Illinois working as an Assistant Commissioner in the

Department of Streets and Sanitation, as their labor attorney. In Hennessy’s first

deposition, there were several indications that Hennessy’s testimony was not
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 8 of 12 PagelD #:13648

credible, and Plaintiff decided that the second deposition of Hennessy should be
video recorded.

Accordingly, at the time Hennessy’s second deposition was taken, it was
reasonably necessary for Plaintiff to have both a video recording and a stenographic
transcript. Additionally, prior to Hennessy’s second deposition, Plaintiff was aware
that the court in Dillard v. City of Chicago, entered sanctions in favor of the
Plaintiff because Hennessy signed an affidavit stating while the City had produced
different RIF lists in Hillmann and Dillard that the discrepancy had occurred
because Dillard’s name would not appear on any July 2002 RIF lists in Ai/lmann
because she was laid off in May 2002. (See Dillard v. City of Chicago, 03 -cv- 594,
doc. entry # 99, at November 3, 2005, attached as Ex. B; see also Doc. entry # 96,
Motion for Sanctions, {| 8-11, attached as Ex. C.) Although Magistrate Schenkier
had denied Dillard’s first motion for sanctions, he granted Dillard’s second motion
for sanctions when it was subsequently discovered by Dillard’s attorney that the
July 2002 RIF documents produced in Ai//mann did in fact have Dillard’s name on
the lists, and that the documents had been altered in the Ai/imann case with
Hennessy’s knowledge, even though she had previously signed an affidavit stating
Dillard’s name would not appear on July 2002 RIF lists because Dillard had been
laid off in May of 2002. See Doc. entry # 96 at 410.

Based upon the above information it appeared reasonable and necessary to
videotape Hennessy’s second deposition. Just as the prevailing party in Top Tobacco

could have used the video recording of Levin’s deposition to eviscerate him before a
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 9 of 12 PagelD #:13648

jury, the Plaintiff in this case could have used Hennessy’s video recorded deposition
to eviscerate Hennessy before a jury. This is particularly true because of Hennessy’s
status as a sworn officer of the court, and this Court’s finding that she was
repeatedly impeached. Plaintiff intended to emphasize Hennessy’s status as a
licensed attorney sworn to uphold the law and provide candor to the tribunal. As in
Top Tobacco, the judge in this case also determined that Hennessy’s testimony was
not credible. See Hillmann Doc. Entry # 539 at 53, 66. The situation presented with
Hennessy’s video recorded deposition is much more serious than simple
impeachment. As a result, this court should look to the ruling in Top Tobacco and
grant Plaintiffs costs for both the video recording and stenographic transcription of
Hennessy’s deposition.
C. All Photocopying Copying Costs were Reasonably Necessary and
Recoverable

The City in its Response did not object to any of Plaintiffs photocopying costs
in his Bill of Costs. District Courts, however, often take an independent review of
the Bill of Costs to determine whether they comply with Rule 54(d). See Farley v.
Andrews, 2008 WL 961592 * 2 (N.D. Il1.2008). Accordingly, Plaintiff further
explains that all of his photocopying costs were reasonably and necessary. Rule
54(4) allows a judge to tax as costs “[flees for exemplification and copies of papers
necessarily obtained for use in the case.” Courts interpret this section to mean that
photocopying charges for discovery and court copies are recoverable, but charges for

copies made for attorney convenience are not. See Kulumani v. Blue Cross Blue
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 10 of 12 PagelD #:13648

Shield Ass'n, 224 F.3d 681, 685 (7th Cir.2000); MclIiveen v. Stone Container Corp.,
910 F.2d 1581, 1584 (7th Cir.1990). The prevailing party is “not required to submit
a bill of costs containing a description so detailed as to make it impossible
economically to recovery impossible. Northbrook Excess & Surplus Ins. Co. v.

Proctor & Gamble, 924 F.2d Co. v. Proctor & Gamble, 924 F.2d 633, 643 (7th

Cir.1991).

For example, in this case, Plaintiff submitted a Bill of Costs for photocopying
documents, depositions and pleadings in Dillard v. City of Chicago, 03-cv-0594.
While the City did not object, Plaintiff explains that the photocopying was
necessary and reasonable because Shirley Dillard’s position in Streets & Sanitation
was eliminated in the same 2002 RIF and the City produced different RIF
documents to Hillmann than the documents produced to Dillard. Moreover, Dillard
deposed many of the same witnesses, as did Plaintiff. See Ex. B, C. Accordingly, the
photocopying of the depositions and documents in Dillard was necessary and proper,

as was all photocopying in this case.

CONCLUSION
WHEREFORE, the Plaintiff, ROBERT P, HILLMANN, respectfully requests
this Court tax the costs enumerated in his Bill of Costs, as supplemented by this
Reply, in the total amount of $75,446.26 against the Defendant, CITY OF

CHICAGO.

10
Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 11 of 12 PagelD #:13648

Respectfully submitted,

‘si Elizabeth A. Knight
Elizabeth A. Knight, 431218-12)
One of the Attorneys for Plaintiff,

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Case: 1:04-cv-06671 Document #: 561 Filed: 11/10/14 Page 12 of 12 PagelD #:13648

CERTIFICATE OF SERVICE

The undersigned, one of the attorneys of record herein, hereby certifies that
on November 10, 2014, the foregoing PLAINTIFFS MEMORANDUM IN SUPPORT
OF BILL OF COSTS was electronically filed with the Clerk of the U.S. District
Court using the CM/ECF System, which will send notification of such filing to the
following:

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8847 Reply in Support of Bill of Costs 14-10-30

12
